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                IN THE UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                      §
BILLY CRAWFORD, JR.         §
AND JEAN L. CRAWFORD        §                         CIVIL NO. 17-36174
     Plaintiffs,            §                         CHAPTER 13
                            §
V.                          §
                            §
DHI FUND, LP; LAKESIDE      §
RESIDENTIAL COMMUNITY       §
ASSOCIATION, INC.; HARRIS   §
COUNTY; HARRIS COUNTY       §
PRECINCT 4 CONTSTABLE       §                        ADVERSAREY CASE
MARK HERMAN; MARY VU, a/k/a §                        NO. 18-03400
MARY VUE; NANCY CHONG a/k/a §
NANCY TU; AND WARRENSON     §
PAYNE                       §
     Defendants.            §

       DEFENDANT CONSTABLE PRECINCT 4 MARK HERMAN’S
                    MOTION TO DISMISS

               Defendant Constable Precinct 4 Mark Herman files his Motion to
Dismiss and would respectfully show this court as follows:
                           I. FACTUAL BACKGROUND
      1.       On or about October 21, 2015, Lakeside Residential Community
Association, Inc. (“Lakeside”), brought suit in Harris County District Court against
Plaintiffs seeking an Order of Foreclosure to foreclose its lien against the property
known as 18203 Maple Arbor Ct., Cypress, Texas (“Subject Property). Said suit was
styled Lakeside Residential Community Association, Inc. vs. Billy Crawford Jr. and
Jean L. Crawford under Cause 2015-62925 (“State Suit”).




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         2.       On May 27, 2016, the Harris County District Court, 61st Judicial District,
issued a judgment in favor of Lakeside.
         3.       On January 3, 2017, the Harris County Constable’s Office, acting
pursuant to a Court Order sold the Subject Property at auction to DHI Fund, LP for
the sum of $21,000.00.
         4.       On November 6, 2017, Debtor filed bankruptcy.
         5.       Debtor filed this current action on December 14, 2018.
                           II. ARGUMENT AND AUTHORITIES
         6.       This case should be dismissed because this Court does not have

jurisdiction over this matter and Plaintiffs seek to have this Court review an Order of

the Harris County District Court.

         7.       It is well settled that this Court does not have jurisdiction to sit in review

of a state court. Knoles v. Wells Fargo Bank, N.A., 513 Fed. Appx. 414, 415 (5th Cir.

2013).

         8.       Plaintiffs’ allegations and claims in this adversary proceeding are (1) they

were not properly served with citations in the state court resulting in the subject

property being foreclosed; and (2) the necessary parties were not made part of the state

suit. Plaintiffs are attempting to collaterally attack the judgment rendered in the state

court.

         9.       Pursuant to the Rooker-Feldman doctrine, this Court does not have

jurisdiction to sit in review of the state court judgment, “A state court’s judgment is

attacked for purposes of the Rooker-Feldman doctrine...if the losing party in state court



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is seeking what in substance would be appellate review of the state judgment in a

United States District Court.” Weaver v. Tex. Capital Bank N.A., 660 F.3d 900 (5th Cir.

2011) quoting Johnson v. De Grandy, 512 U.S. 997, 1005-1006; 114 S.Ct. 2647, 129

L.ed. 2d 775 (1994).

      10.    The Roker-Feldman doctrine has four elements: (1) a state court loser;

(2) alleging harm caused by a state judgment; (3) that was rendered before the federal

court proceeding began; and (4) the federal suit requested review and reversal of the

state court judgment. Exxon Mobile Corp v. Saudi Basic Indus. Corp. 544 U.S. 280,

284 (2005). See also Houston v. Queen 606 F. Appex’ 725, 730 (5th Cir. 2015).

      11.    As stated in the Plaintiff’s Original Petition they (1) lost in state court;

(2) claim they were injured because of the judgment of the state court resulting in

foreclosure of subject property; and (3) judgment in the state suit was rendered on May

27, 2016 prior to this suit was filed and before the bankruptcy proceedings were filed.

      12.    Plaintiffs are requesting this Court to enter an Order that vacates the

Order in state court which is a definite violation of the Rooker-Feldman Doctrine.

                                       PRAYER

      Wherefore, premises considered, Defendant Constable Precinct 4 Mark

Herman respectfully requests that his Motion to Dismiss for lack of jurisdiction be in

all respects granted and for other and further relief which he is justly entitled in law

and/or in equity.




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                                       Respectfully submitted,

                                       VINCE RYAN, 99999939
                                       HARRIS COUNTY ATTORNEY

                                       /s/ Jim C. Ezer
                                       JIM C. EZER
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                                      ATTORNEY FOR DEFENDANT
                                      HARRIS COUNTY CONSTABLE
                                      PRECINCT 4 MARK HERMAN



                         CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing instrument
has been served upon all counsel by record through electronic service (Pacer) on
the 13th day of February 2019.



                                      /s/ Jim C. Ezer
                                      JIM C. Ezer
                                      Assistant County Attorney




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